                  Case 23-10576-TMH             Doc 733       Filed 12/28/23         Page 1 of 3



                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


In re:                                                     Chapter 7

CHRISTMAS TREE SHOPS, LLC, et al.,                         Case No. 23-10576 (TMH)

                                   Debtors.1               (Jointly Administered)

                                                           Re: D.I. 639, 640, 641, 642, 643, 644, 645, and
                                                           646, and 729

     CERTIFICATION OF COUNSEL SUBMITTING OMNIBUS ORDER AWARDING
       FINAL ALLOWANCE OF COMPENSATION FOR SERVICES RENDERED
     AND FOR REIMBURSEMENT OF EXPENSES OF VARIOUS PROFESSIONALS

         The undersigned counsel hereby certifies that:

         1.        On May 5, 2023 (the “Petition Date”), the Debtors filed voluntary petitions for

relief under chapter 11 of the Bankruptcy Code. On August 16, 2023, the above-captioned cases

were converted to chapter 7 of the Bankruptcy Code pursuant to the Order (I) Converting the

Debtors’ Chapter 11 Cases to Cases Under Chapter 7 of the Bankruptcy Code Pursuant to

11 U.S.C. 1112(b); (II) Approving the Conversion Procedures; (III) Authorizing the Transfer of

the Professional Fee Funding Amounts Into a Segregated Attorney Trust Account Maintained by

Debtors’ Counsel; (IV) Limiting Notice of the Motion and (V) Granting Related Relief

[Docket No. 545] (the “Conversion Order”). George L. Miller (the “Trustee”) was appointed as

the chapter 7 trustee on August 16, 2023 [Docket No. 546].

         2.        On June 5, 2023, the Court entered the Final Order Pursuant to 11 U.S.C. §§ 105,

361, 362, 363, 364, 503 and 507 (I) Authorizing the Debtors to Obtain Senior Secured

Superpriority Postpetition Financing; (II) Granting (A) Liens and Superpriority Administrative


1
    The Debtors in these chapter 7 cases and the last four digits of each Debtor’s U.S. tax identification number are
    as follows: Christmas Tree Shops, LLC (1207), Handil, LLC (1150), Handil Holdings, LLC (2891), Salkovitz
    Family Trust 2, LLC (8773), and Nantucket Distributing Co., LLC (1640).



DE:4859-3323-5097.1 57097.001
                  Case 23-10576-TMH            Doc 733        Filed 12/28/23        Page 2 of 3



Expense Claims and (B) Adequate Protection to Certain Prepetition Lenders; (III) Authorizing

Use of Cash Collateral; (IV) Modifying the Automatic Stay; and (V) Granting Related Relief

[Docket No. 229], as supplemented by the Final Supplemental Order to the Final Order Pursuant

to 11 U.S.C. §§ 105, 361, 362, 363, 364, 503 and 507 (I) Authorizing the Debtors to Obtain Senior

Secured Superpriority Postpetition Financing; (II) Granting (A) Liens and Superpriority

Administrative Expense Claims and (B) Adequate Protection to Certain Prepetition Lenders;

(III) Authorizing Use of Cash Collateral; (IV) Modifying the Automatic Stay; and (V) Granting

Related Relief [Docket No. 431] (together, the “Final DIP Order”).2

         3.        On August 31, 2023, the Bankruptcy Court entered the Order Compelling the

Turnover of Estate Property and Enforcing the Automatic Stay [Docket No. 606] (the “Turnover

Order”). Pursuant to the Turnover Order, the Trustee received funds from Bank of America, N.A.

in the amount of $2,873,844.04, which funds remain in the possession, custody and control of the

Trustee (the “Estate Funds”).

         4.        On December 21, 2023, the Bankruptcy Court entered the Order Approving

Stipulation Between the Chapter 7 Trustee, ReStore Capital, LLC, and Pathlight Capital, LP,

Providing for Payment of Certain Unpaid Payroll Amounts [Docket No. 729] (the “Payroll

Stipulation”).

         5.        Pursuant to the Payroll Stipulation, the Trustee was authorized to pay the Payroll

Amount by wire transfer to the payroll processing company (“ADP”) upon payment of the Carve

Out Reimbursement. Upon confirmation to the Bankruptcy Court of the payment of the Payroll

Amounts, and entry of the Final Fee Order, the Trustee is authorized to use Estate Funds to pay

the final fees and expenses of the Professionals as set forth in the Final Fee Order.


2
    A capitalized term used but not otherwise defined herein shall have the meaning ascribed to it in the Final DIP
    Order or the Payroll Stipulation.

DE:4859-3323-5097.1 57097.001                       2
                  Case 23-10576-TMH        Doc 733      Filed 12/28/23    Page 3 of 3



         6.        The undersigned counsel confirms that the Trustee paid the Payroll Amounts to

ADP and ADP distributed the Payroll Amounts to the Debtors’ former employees on December

27, 2023 and December 28, 2023. Accordingly, the Trustee submits the Final Fee Order, attached

hereto as Exhibit A, for review and approval by the Bankruptcy Court.

         7.        Based on the foregoing, the Trustee respectfully requests entry of the Final Fee

Order at the Court’s earliest convenience.



Dated: December 28, 2023                           PACHULSKI STANG ZIEHL & JONES LLP

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DE:4859-3323-5097.1 57097.001                  3
